                                    Case 1:22-cv-03419-JPB Document 115-9                                                                                     Filed 12/08/23                               Page 1 of 2
                                  DEKALB COUNTY POLICE DEPARTMENT                                                                                                                    Case#
                                                 GA0440200                                                                                                                    15-089517
                                                                     INCIDENT REPORT
            Inadent Type:                                                                                                                   Counts           no/dent Code                    Offense Jurisdiction                   Arrest Jurisdiction
             16-12-100 (3799) Sexual exploitation of children                                                                                1               3799                            COUNTY                                 COUNTY
  EVENT




            Prense Type:                           Weapon Type:                                                                                           Fortible:                Stranger To Stranger         Hate Motivated:              Loc Code.
            COMMERCIAL                                                                                                                                    N                        Y                                        0                240
            Date Report          Incident Start         Incident End.                                                                      Incident Location:
            9/9/2015 10:16:48 PM 9/9/2015 5:20:00 PM 9/9/2015 9:20:00 PM                                                                   1600 Crescent Centre Blvd Tucker GA
             Name (Last First Middle):                                                                                        Moniker                                 DOB:                         Age:                      Sex.         Race:           Ethnicity
            ININIEMIEND                                                                                                   M.                                          IIIIIIII-1999                15                        F            B               N
             Address                                                                                          Home 0                            Work it                            CO 0-                             Email:
            SIIIIIIMIIMMIElli                                       Vancouver WA 98661-
            SSN:        Resident Status:                                   HGT           WGT          Harr Color                 Hair Style.                 Harr Length.                  Eye Color                    OLN0-                             State
                        RESIDENT                                           507           150          BLACK                      STRAIGHT                    MEDIUM                        BROWN
             Occupation:                                       Employer                                             Address:                                                                                                        Employer Phone.
Z.
P=                                                                               Yes No        If Yes. Name of Victim's School
0 Victim Type:                                                                                                                                              LEOKA Actrvrty Type:                                    LEOKA Assignment Type:
5 Individual                                                          Student     0 O
             Injuries: El None 0          Minor 0     Internal :I    Teeth O Unconscious O Lacerations              0         f3anes 0     Other                                    Used:          O      Drugs 0          Alcohol 0      Computer
             SMTs:

             Relationship To      I) ACQUAINTANCE                          (2)                                          (3)                                             (4)                                                (5)
             Offenders:           6)                                       (7)                                          (8)                                             (g)                                                (10)
             Offenses             1) 3799                                  (2)                                          (3)                                             (4)                                                (5)
             Involved:            6)                                                                                                                                                                                       (ID)
                                                                           (7)                                          (8)                                             19)
            Nape:                                                         Moniker                                                                         DOB:           Age.                                       Sex:            Race:            Etericity-
            Woods, Santresia                                                                                                                            gra-1991         24                                         F               13               N
            Address:                                            Home Phone:                                                                     Work Phone:      Cell Phone.                                        Email,
            3378 Greenbriar Parkway SW 3107 Atlanta GA 30331-
            SSN:          Resident Status:  HGT.   WGT   Hair Color         Hair Style:                                                                      Hair Length:                  Eye Color                    UN tr.                            State:
                          RESIDENT          507    195                                                                                                                                     BROWN                     IMMO                                 GA
             Occupation:         Employer                                                                           Address:                                                                                                        Employer Phone:
             UNKNOWN OR NOT STA1 Unknown
 OFFENDER




             SMTs:

                                                                                                                 Offenses Involved:
             1) 16-12-100 (3799) Sexual exploitation of children                                                1799             (2)
            (3)                                                                                                                    (4)
            (5)                                                                                                                    (6)
        (7)                                                                                                                        (8)
            (9)                                                                                                                    (10)
                  WANTED: O            WARRANT                ARREST RIP                        SUSPECT ARMED:          N               WEAPON:                                                           Used: O Drugs O Alcohol 0                  Computer
                     TOTAL NUMBER ARRESTED:          in                   ARREST AT OR NEAR OFFENSE SCENE:                    Yes: ❑No:       Lr ..
   [




                                          VEHICLES                               CURRENCY. NOTES. ETC                     JEWELRY. PREC. METALS                        FURS
                     I STOLEN             $0.00                                  50.00                                    $0.00                                        $0.00
                     IRECOVF_RED         j$ 0. 00                                $0.00                                    50.00                                        $0.00
 PROPERTY




                                          CLOTHING                           OFFICE EQUIP.                                TV, RADIO. ETC                               HOUSEHOLD GOODS
                         STOLEN           50.00                              50.00                                        50.00                                        $0.00
                         RECOVERED       50.00                               $0.00                                        $0.00                                        $0.00
                                          FIREARMS                     CONSUMABLE GOODS                LIVESTOCK                      OTHER                                  TOTAL
                         STOLEN           $0.00                        $0.00                           $0.00                          ,S0.00                                 $0.00
                     'RECOVERED          $0.00                         $0.00                           $0.00                           $0.00                                       $0.00

g                      GCIC ENTRY                    NE WARRANT                    MISSING PERSONS             Ill VEHICLE                           ARTICLE                       ❑       BOAT                     O GUN                n SECURITIES
O DID INVESTIGATION INDICATE THAT THIS INCIDENT WAS DRUG-RELATED? IF ,—,                                                                              Batiturate              0      3 -Cocaine        0 4- Hailtrinagen                  0 5- Heroin
Z YES, PLEASE INDICATE THE TYPE OF DRUG(S) USED BY OFFENDER
cr                                                                   Li YES NS NO 0                                     1. AmPhetarine 0           2*
6                                                                                                                0 6 -maripana              0      7- Methamphetarnine        0      6- Orli tel       0 9- Synthetic Narcotic            0 U - Unknown

            REQUIRED DATA FIELDS                    CLEARED BY ARREST             EXCEPTIONALLY CLEARED                 UNFOUNDED
            FOR CLEARANCE REPORT                                                                                                                DATE OF CLEARANCE             09-09-2015                     NE ADULT                     JUVENILE

REPORTING OFFICER                                                                                             NUMBER                    APPROVING OFFICER                                                                                        NUMBER
Mccown e                                                                                                   2722                         Brannon h I                                                                                            1911




                                                                                                                                                                                                                                          Plaintiff D.H. 00373
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                  DEKALB COUNTY POLICE DEPARTMENT                     Case #.
                                 GA0440200                         15-089517

                                           NARRATIVE
Office, C•Name:                            Date:                         4v...310k:et ID/Name.                       Date:
?77?               Mcco%%II                9/9/2015 10:48:02 PM          1911                    Brannon la 1        9/9/2015 10A8 27 PM

Slue                          I ItI PORT


Cr; l'ilednesday, September 9, 2015, the Dekalb County Police Departments Vice Unit conducted a police operatior target
fer-ales that engage in p -ostituth.-.)n by advertising escort tlerit:e.t. On back age :ere At appreeematele 5:20 FM, I called
female that posted an ad,iertisement under the alas                                was leeer Identified to be
      posted an ad ierusernent that showed a black female laying on her stomach in a therd
    I called         and asked if she 'teas available. She said that she was available She asked r-e how, lord I evartee to. eIse.
her and I said an hour             told me that an hour would :cost S.' 20 I told her e' ke:. She told me that she weule te:e7t          ee
address Three mieutes later                text me an address of 2942 Lawren:eville High/. B: Tucker, GA 30034 The aodreee a
she save me was the address of the Kniohts Inn Motel. In the text reeseag-e lab                said, Bring -'cur Own Protection ;7' lease
    I text -and        to d her that ' would arrive at approximately 7 '5 FM At approximatelf 7 00 RI, I called -arc                    too
her that I was inside of the pa king lot of the Knight's Inn. She told me that she was actually in the Super 3 Motel, aerose the
street. {The address of the Super S Motel is 1600 Crescent Centre Blvd Tucker GA 30034 I -told                      me to drift' to the
back of the Super 3 Motel and cal he-. I drove to and parked in the back of the Super S Motel I called                     and she
what kind of car I was 'n She told me to carne up to the second floor and she, would be outside waitine forme.
    I walked up to the second floor and saw a black female standing outside of a room The female was identified to be
and she was standina outside of Room 217. She At wearins a shirt and shorts I walked inside of the room and
ask d raze to touch her She guided my hand to her breast I touched her breast through her shirt. I said, "Now you touch me
           rubbed my chest through my shirt She then asked me if I brought the condoms and I said that I did. I took a box of
Magnum Condoms out of a brown paper bag and handed it to her.
   IMIllasked for the S120 and I took :t out of my pocket I placed a one hundred dollar bill and a twenty dollar bill and
paced it in her hand       00 HI - HB44364834F, 20 bill - IL01411081A, I asked, ".':'hat can I set fe- this S120?" She replied
  Everything "        .ed So I can do everything? There's no limits?" She shook her head yes I thereiill car ha                           B
I sex) too?" IMP shook her head no. I then responded. "Okay, so just 'head' and 'pussy'                                 responded. 'ves
   alaitook the money and put it in near a plastic bag behind the television. She went to the bathroom a ed whet, she
returned she started taking off her clothes. OINIPstripped down to her bra and panties Shortiv after she took her sh rt a:- 7
shorts off. Detective M Johnson #2813, and Sat H.L. Brannon :t191I, Officer 0 J. Richardson 7:3271, and Cfficer E S Moss
»32S8 came into the room to take                into custody for the offense of Prostitution Detective Johnson four, he mcne,
behind the television Shortly after they entered the room. Officers Richardson and Moss confirmed that                      was fi'teee-
years of age
    As the officers and detectives were going to room 217 in order to place                into custody. a heavy set black feria e came
out of room 215 and stood on the balcony She conversed with a black male and and a black female The door to her room
was open and she had several little kids that were inside and outside of the room ieihen the officers and detesti:es came out
of room 217, the black female that was next door was not present Sat H L Brannon 'went to the leasina office in order to
ascertain who room 217 was registered to The clerk said that the female in room 275, EIMIlinnell,                            rented room
217 He gave Sot H L Brannon a photocopy of feine.                     Georgia Identification Card
    Sgt H L Brannon knocked on the door of room 215 several times but nobody answered He went to the front office and
asked the clerk to open the door. The clerk gave Sot. Brannon a master key and Sgt. Brannon opened the door, Nobcd.,'
inside of the room fenillehad vacated the premises Detective M Johnson then went to try to locate IMMEISIOnear tje
motel He saw a female standing at the intersection of Montreal Road and L., a *A rence', le Hiahwae, with a black female aid foe
  hildren. The female resembled the female that was standing outside of room 2'5 .when he came to p ace                 gap      irto custc:e-
                          She also resembled the female in the Georgia Identification Card photo that the motel clerk aa Sgt
     . rannon
    Detective Johnson had Officer Richardson and Officer Moss corduct an dentificatior stop on the f-erea e The„ e ere
marked police iehicle. They checked the woman at the intersection and it was/101a                        e fena e that s - e r: as star dine
w th was her sister, Ms Santresia Woods Sgt. IL. Kennedy from the Internet Crimes Against                    dreg        ent to tee,
intersection as well Per Sgt Kennedy, Officer Richardson and Moss transported both sisters and the ohrldrer to police
headquarters to be inter,;iewed. After interviewtna both sisters. Santresia .lu:'cods was arrested for Human Trafficking




                                                                                                                                     Plaintiff D.H. 00374
